Gary G. Colbath
Assistant Federal Defender
FEDERAL PUBLIC DEFENDER
FOR THE DISTRICT OF ALASKA
425 G Street, Suite 800
Anchorage, Alaska 99501
Phone: (907) 646-3400
Fax: (907) 646-3480
Email: gary_colbath@fd.org

Counsel for Defendant Rey Joel Soto-Lopez

                        UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                   Case No. 3:19-cr-00114-JMK-MMS
                      Plaintiff,
                                             DECLARATION OF SING VANG
        vs.                                  (Motion Exhibit D-1)
 REY JOEL SOTO-LOPEZ,
                      Defendant.

      I, Sing Vang, declare that the following is true:

      1.        I am a Criminal Defense Investigator with the Federal Public

Defender’s Office. I have been in this position since August of 2019. Prior to this

current position, I was employed as a Criminal Defense Investigator for the

Oklahoma Indigent Defense System located in Sapulpa, OK, where I worked

exclusively on capital murder cases. I hold a BA in Criminal Justice from Indiana

University. I also hold a JD from the Cleveland-Marshall College of Law. During

my years of working in this profession I have completed numerous training courses

that were held both locally and national by a number of different reputable criminal

defense associations in order to improve my skills and abilities to function as an

investigator.



     Case 3:19-cr-00114-JMK-MMS Document 98-1 Filed 01/13/21 Page 1 of 3
       2.      Towards the end of winter 2019, REY SOTO-LOPEZ was assigned to

me as a client.

       3.      As part of my investigation work in this matter, in December of 2019,

I was tasked with investigating potential witness IRA BECK’S background. I looked

at several different resources in doing so including the Alaska State Court

System’s Courtview website. Courtview contained numerous case references to

prior traffic related charges. Additionally, more significant events were detailed

from 2018 and 2019.

       4.      As of December, 2019 Courtview showed the existence of the

following active, civil domestic protection orders: A) 07/09/2018 – 3KN-18-0567CI

Protective Order was filed against IRA BECK’S on behalf of McGERRA BECK;

and B) 07/28/2018 – 3KN-18-00627CI 2nd Protective Order filed against IRA

BECK on behalf of McGERRA BECK.

       5.      Also, as of December, 2019, Courtview detailed the following active,

criminal charges pending against IRA BECK as follows: 01/18/2019 – 3KN-19-

00087CR

       •       1 – Assault, Cause Fear of Injury w/ Weapon (felony)
       •       2 – Assault, Repeat threat of Death/Injury (felony)
       •       3 – Assault, Recklessly Injured (misd)
       •       4 – Interfere w/ Report of DV Crime (misd)
       •       5 – Criminal Mischief, Tamper w/ Property (misd)

       6.      I secured records from the Kenai Superior Court related to the above

referenced charges. Based on my review of those records it appears BECK was
United States v. Rey Joel Soto-Lopez
Case No. 3:19-cr-00114-JMK-MMS                                                Page 2



     Case 3:19-cr-00114-JMK-MMS Document 98-1 Filed 01/13/21 Page 2 of 3
initially indicted in January,2A19 with the charges Iisted above. After litigation and

various court proceedings, the matter was ultimately dismissed and the case

closed by the Alaska State court sometime in July 2020.

       7.   Based on my review of court records it appears BECK had the above

referenced charges pending on March 24, 2019 and was subject               to   pretrial

conditions of release on that date.

       DATED at Anchorage, Alaska this 13th day of January, 2021 .

                                           Respectfully submitted,
                                           Feoennl Pueltc DereruoeR
                                           Drsrnr            KA




                                           Sin      ang
                                           lnvestigator
                                           Federal Public Defender Office




United Sfafes v. Rey Joel Soto-Lopez
Case No. 3:1 9-cr-001 14-JMK-MMS                                                 Page 3




     Case 3:19-cr-00114-JMK-MMS Document 98-1 Filed 01/13/21 Page 3 of 3
